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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

SAMANTHA HIGNELL-STARK, ET AL.                         CIVIL ACTION

VERSUS                                                 NO. 19-13773

CITY OF NEW ORLEANS                                    SECTION “B”(1)

RELATED TO: 22-2991

                                  ORDER

     Considering parties’ joint motion for extension of time to

file dispositive motions (Rec. Doc. 166) and parties’ joint motion

to dismiss without prejudice pending motion for injunctive and

declaratory relief (Rec. Doc. 167),

     IT IS ORDERED that the motion for extension of time to file

dispositive   motions   (Rec.   Doc       166)   is   GRANTED.   Counsel   for

plaintiffs and defendant shall file any case-dispositive motions

no later than Friday, July 14, 2023 at 5:00 P.M.; Responses shall

be filed no later than Friday, July 28, 2023 at 5:00 P.M.; and

Replies, if any, shall be filed no later than Friday, August 4,

2023 at 5:00 P.M. All other deadlines shall remain consistent with

the Court’s previous Order. See Rec. Doc. 157.

     IT IS FURTHER ORDERED that the joint motion to dismiss without

prejudice the pending motion for injunctive and declaratory relief

(Rec. Doc. 167) is GRANTED. The motion clarifies that arguments

contained in the pending motion for declaratory judgment (Rec.

Doc. 111) are moot in view of the legislative action by the New


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Orleans   City   Council,    this    updated   scheduling     order,      and

anticipated motions for summary judgment. Accordingly, the pending

motion for declaratory judgment (Rec. Doc. 111) is hereby DISMISSED

AS MOOT, WITHOUT PREJUDICE. Appropriate and relevant arguments may

be stated in the anticipated cross-motions for summary judgment.

     New Orleans, Louisiana this 14th day of June, 2023




                               ___________________________________
                               SENIOR UNITED STATES DISTRICT JUDGE




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